           Case 2:18-cr-00759-JLS       Document 457 Filed 12/13/24            Page 1 of 1 Page ID
                                                 #:4804
                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                      CRIMINAL MINUTES - GENERAL




 Case No.       LA CR 18-00759(A)-JLS                                            Date    December 13, 2024


 Present: The Honorable      Josephine L. Staton, United States District Judge

 Interpreter       none

            Kelly Davis                        Myra Ponce                  Anna Boylan, Kathrynne Seiden
           Deputy Clerk                 Court Reporter/Recorder                  Assistant U.S. Attorney


         U.S.A. v. Defendant(s):        Present Cust. Bond        Attorneys for Defendants: Present App. Ret.

Robert Paul Rundo                          X       X             Julia Deixler, DFPD            X      X


 Proceedings:       SENTENCING

        The matter is called and counsel state their appearances. Sentencing hearing held. See
separate Judgment and Commitment Order. Release Order 14278 issued to USMS.




cc: USPPO




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                                                                Initials of Deputy
                                                                             Clerk kd




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